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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION

MEDMARC CASUALTY INSURANCE                    )
COMPANY,                                      )
                                              )
                Plaintiff,                    )
                                              )
       v.                                     )   CIVIL ACTION NO. 5:17-CV-449 (MTT)
                                              )
SELL & MELTON, LLP et al,                     )
                                              )
                Defendants.                   )
                                              )

                                 SETTLEMENT ORDER


       The Court has been advised by counsel that the above action has been settled.

       IT IS, THEREFORE, ORDERED that the action be dismissed without costs other

than those due this Court and without prejudice to the right, upon good cause shown

within ninety (90) days, to reopen the action if settlement is not consummated. If the

action is not reopened, it shall stand dismissed, with prejudice.

       SO ORDERED, this 31st day of October, 2018.

                                          S/ Marc T. Treadwell
                                          MARC T. TREADWELL, JUDGE
                                          UNITED STATES DISTRICT COURT
